|N THE UN|TED STATES DlSTRlCT COURT
FOR THE EASTERN D|STR|CT OF TENNESSEE
KNOXVILLE D|VlSlON

BlTUM|NOUS CASUALT¥
CORPORAT|ON,

P|aintiff,

v. Case No.
WALDEN RESOURCES, LLC, AMWES
EXPLORAT|ON, LLC, DAN|EL POTTS,
ZTX DR|LL|NG, LLC, JONATHAN D.
VANN, LEX|NGTON |NSURANCE
CON|PANY, NAT!ONAL POLLUT|ON
FUNDS CENTER, UN|TED STATES
ENV|RONN|ENTAL PROTECTION
AGENC¥, W|LD WELL CONTROL, |NC.,
MARLOW VOLUNTEER F|RE
DEPARTMENT, SUPER|OR WELL
SERV|CES, |NC., GR|FF{TH SERV!CES,
LLC, BLOWOUT TOOLS, |NC.,
UN|VERSAL WELL SERVICES, |NC.,
MILLER PETROLEUN|, lNC., FAY
PORTABLE BU|LD|NGS, |NC.,
ENG|NEER|NG CONSTRUCT|ON
SERV|CES, |NC., D|G |T UP
EXCAVAT|ON CO., VOLUNTEER
TRENCHING, B!LL|NGS CRANE &
MECHAN|CAL, |NC., B. J. SERV¥CES
COMPANY, NORTH EAST MUD
SERV|CES CONIPANY, LLC, L&D WELL
SERV|CE, EAST TENNESSEE
CONSTRUCT|ON, QUAL}T¥ SUPPLV,
BRAD PENN|NGTON, ROBERT KELLY,
DEBRA KELLY, AND CL|FFORD N.
HENDERSON, JR.,

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Defendants.

COMPLA|NT FOR DECLARATORY JUDGMENT, COMPLAINT OF
INTERPLEADER AND COMPLA!NT FOR PERMANENT iNJUNCTlVE RELlEF

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Comes now the plaintiff, Bituminous Casualty Corporation (hereinafter
referred to as "Bituminous”), through counse|, and alleges as follows:
|. THE PARTIES

1. Bituminous is an insurance company incorporated under the laws of the
State of lllinois, with its principal piace of business located at Rock island, illinois.
Bituminous has complied with the laws of the State of Tennessee, as weli as the
Commonweaith of Kentucky, pertaining to corporations engaged in insurance business
theretn. Bituminous is a citizen and resident of the State of illinois for purposes of 28
U.S.C. § 1332.

2. Defendant Walden Resources, LLC, is a Tennessee limited liability
company with its principal place of business in Petros, Tennessee. Defendant Waiden
Resources, LLC (hereinafter referred to as “Waiden”), is thus a citizen and resident of
the State of Tennessee for purposes of 28 U.S.C. § 1332.

3. Defendant AIVlVVES Exploration, i_i_C is a Florida limited liability company
With its principal place of business in i`-`t. lViyers, Florida. Detendant AlVlVVES Exploration,
LLC (hereinafter referred to as “AN|VVES”), is thus a citizen and resident of the State of
Florida for purposes of 28 U.S.C. § 1332.

4. Defendant Dantei Potts is an individual residing in i\/iorgan County,
Tennessee. Defendant Daniel Potts (hereinaf'ter referred to as “Potts”), is thus a citizen
and resident of the State of Tennessee for purposes of 28 U.S.C. § 1332.

5. Defendant ZTX Driiling, LLC is a Florida iimited liability company with its
principal place of business in Ft. iVlyers, Florida. Defendant ZTX Driliing, LLC

(hereinafter referred to as “ZTX"), is thus a citizen and resident of the State of Fiorida for

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purposes of 28 U.S.C. § 1332. ZTX is listed as an additional named insured on the
policy of insurance issued by Biturninous to AiVlWES.

6. Defendant .ionathan D. Vann is an individual residing in Roane County,
Tennessee. Defendant Jonathan D. Vann (hereinafter referred to as “Vann”), is thus a
citizen and resident of the State of Tennessee for purposes of 28 U.S.C. § 1332.

7. Defendant Lexington insurance Company is Nlaryland corporation with its
principal place of business in Boston, Massachusetts. Defendant i_exington insurance
Company is thus a citizen and resident of the State of Niaryland and the State of
l\/iassachusetts for purposes of 28 U.S.C. § 1332.

8. Defendant National Pol|ution Funds Center is an agency of the United
States Government. Defendant National Poilution Funds Center is considered a
resident of the District of Coiumbia for purposes of 28 U.S.C. § 1332.

9. Defendant United States Environmental Protection Agency is an agency of
the United States Government, Defendant United States Environmental Protection
Agency is considered a resident of the District of Coiumioia for purposes of 28 U.S.C. §
1332.

10. Defendant Wild Weii Contro|, lnc. is a Texas corporation with its principal
place of business in Houston, Texas. Defendant Wild Well Control is thus a citizen and
resident of the State of Texas for purposes of 28 U.S.C. § 1332.

11. De'ienciant lViarloW Volunteer Fire Department is a Tennessee independent,
non-profit corporation Witn its principai place of business in Anderson County,
Tennessee. Defendant i\ilar|ow Volunteer Fire Departrnent is thus a citizen and resident

of the State of Tennessee for purposes of 28 U.S.C. § 1332

Bi Wa|den Resources Compi lnterpl 090201 3
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12 Defendant Superior Well Services, inc. is a Delaware corporation With its
principai place of business in lndiana, Pennsylvania. Defendant SuperiorWeli Services
is thus a citizen and resident of the State of Deiaware and the State of Pennsylvania for
purposes of 28 U.S.C. § 1332

13. Defendant Griftith Services, LLC is a Tennessee limited liability company
with its principai place of business in Oak Ridge, Tennessee. Defendant GrifEth
Services, Li_C is thus a citizen and resident of the State of Tennessee for purposes of
28 U.S.C. § 1332

14. Defendant Blowout Toois, inc. is a Texas corporation with its principal
place of business in Houston, Texas. Defendant Blowout Toois, inc. is thus a citizen
and resident of the State of Texas for purposes of 28 U.S.C. § 1332

15. Defendant Universal Weil Services, lnc. is a Deiaware corporation with its
principal place of business in Snyder, Texas. Defendant Universai Well Services, lnc. is
thus a citizen and resident of the State of Delaware and the State of Texas for purposes
of 28 U.S.C. § 1332

16. Defendant lVliller Petro|eurn, inc. is a Tennessee corporation with its
principal place of business in Huntsviiie, Tennessee. Defendant Miller i:’etroleurn1 lnc. is
thus a citizen and resident of the State of Tennessee for purposes of 28 U.S.C. § 1332

17. Defendant Fay Portable Buildings, inc. is a Tennessee corporation with its
principal place of business in Knoxviiie, Tennessee. Defendant Fay Portable Buildings1
|nc. is thus a citizen and resident of the State of Tennessee for purposes of 28 U.S.C. §
1332

18. Defendant Engineering Construction Services, inc. is a Tennessee

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corporation with its principal place of business in Oiiver Springs, Tennessee. Defendant
Engineering Construction Services, inc. is thus a citizen and resident of the State of
Tennessee for purposes of 28 U.S.C. § 1332

19. Defendant Dig lt Up Excavation Co. is a Tennessee business With its
principal place of business in Ollver Springs, Tennessee. Defendant Dig it Up
Excavation Co. is thus a citizen and resident of the State of Tennessee for purposes of
28 U.S.C. § 1332.

20. Defendant Volunteer Trenching is a Tennessee business with its principal
piace of business in Jacksboro, Tennessee. Defendant Volunteer Trenching is thus a
citizen and resident of the State of Tennessee for purposes of 28 U.S.C. § 1332

21. Defendant Biiiings Crane & i\/lechanlcai, lnc. is a Tennessee corporation
with its principal place of business in Cookevilie, Tennessee. Defendant Billings Crane
& Niechanical, lnc. is thus a citizen and resident of the State of Tennessee for purposes
of 28 U.S.C. § 1332

22. Defendant B. J. Services Company is a Delaware corporation with its
principal place of business in Houston, Texas. Defendant B. J. Services Company is
thus a citizen and resident of the State of Delaware and the State of Texas for purposes
of 28 U.S.C. § 1332

23. Defendant North East lViud Services Company, LLC is a West Virginia
limited liability company with its principal place of business in Bridgeport, West Virginia.
Defendant North East i\/iud Services Company, i_i_C is thus a citizen and resident of the
State of West Virginia for purposes of 28 U.S.C. § 1332

24. Defendant L&D Well Service is a Virginia corporation With its principai

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piace of business in Vansant, Virginia. Defendant L&D Well Service is thus a citizen and
resident of the State of Virginia for purposes of 28 U.S.C. § 1332

25. Defendant East Tennessee Construction is a Tennessee business with its
principal place of business in Oliver Springs, Tennessee. Defendant East Tennessee
Construction is thus a citizen and resident of the State of Tennessee for purposes of 28
U.S.C. § 1332

26. Defendant Quality Supply is a Tennessee company with its principal piace
of business in Coalfieid, Tennessee. Defendant Quality Supply is thus a citizen and
resident of the State of Tennessee for purposes of 28 U.S.C. § 1332

27. Defendant Brad Pennington is an individual residing in Anderson County,
Tennessee. Defendant Brad Pennington is thus a citizen and resident of the State of
Tennessee for purposes of 28 U.S.C. § 1332

28. Defendant Robert Keily is an individual residing in Anderson County,
Tennessee. Defendant Robert Keily is thus a citizen and resident of the State of
Tennessee for purposes of 28 U.S.C. § 1332

29. Defendant Debra Keily is an individual residing in Anderson County,
Tennessee. Defendant Debra Keily is thus a citizen and resident of the State of
Tennessee for purposes of 28 U.S.C. § 1332

30. Defendant Clifford N. Henderson, Jr. is an individual residing in Blount
County, Tennessee. Defendant Clifford N. Henderson, Jr. is thus a citizen and resident
of the State of Tennessee for purposes of 28 U.S.C. § 1332

i|. VENUE, JUR|SDiCT|ON AND BAS|C FACTS

31. This action arises from an event occurring on iViarch 18, 2008 at an oil well

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known as “Parten 5" located at 1834 or 1835 Cove Road, Oiiver Springs, Anderson
County, Tennessee (hereinafter referred to as “the subject weli"). On lViarch 18, 2008,
defendant Potts had an individual interest in the subject well, as weil as the oii and gas
leases/rights to the property. On lViarch 18, 2008, defendant Potts was the primary
owner and operator of defendant Walden, and defendant Walden entered in a driiling
contract with defendant ZTX for driiling of the subject weii. On iVlarch 18, 2008, at
approximately 1:00 p.m. a blowout preventer faiied, causing a discharge of oil and natural
gas from the subject weii. Various individuals and entities were notified of the spill, and
many, including several of the parties to this action, responded to provide services,
supplies, etc., for purposes of containing and cieaning up the spill. Subsequent|y, while
work was stiii being done to contain and cleanup the spili, a vehicle sparked a fire that
resulted in a large explosion. Additional individuais and entities responded to assist with
control and extinguishment of the fire, and various property in the area was damaged by
the spill, tire, and/or explosion. As a result of the aforementioned incident, multiple ciaims
have been presented to Biturninous, as liability insurer for defendants Walden and ZTX,
and Bituminous has been unable to settle ail of those ciaims. The respective policy
limits are insufficient to satisfy all demands and/or exposure Bituminous cannot
determine which individuals and/or entities should be paid, or the amounts to be paid to
each such claimant The total amount of the claims asserted by the various claimants
against Bituminous, and its insureds, exceeds the iirnits of coverage in this case.

32 This action is brought, in part, pursuant to the Deciaratory Judgment Act
as codified in 28 U.S.C. § 2201, and Ru|e 57 of the Federal Ruies of Civii Procedure.

This action is further brought pursuant to the Federai lnterpieader Act, 28 U.S.C. § 1335

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and Rule 22 of the Federai Rules of Civii Procedure. Finaliy, this action involves
determination of a Federai Question under 28 U.S.C. § 1331.

33. Jurisdiction exists in this Court pursuant to the provisions of 28 U.S.C.
§§133, 1332 and 1335. The amount in controversy is the remaining amounts of policy
limits with respect to the policies issued by Bituminous to defendant Walden and
defendant AMWES, to be discussed in more detail beiow, that being in excess of One
l\/iiliion Nine Hundred Thousand Dollars ($1,900,000.00). Thus, the total amount in
controversy exceeds the minimum jurisdictionai limit of this Court, exclusive of interest
and cost. Based upon the foregoing, venue is proper in this Court and in this Division,
pursuant to 28 U.S.C. § 1391 and § 123(a)(1), respectively

|ii. FACTS

34. On l\/iarch 18, 2008, Biturninous had in fuil force and effect policy number
CLP 3 242 831 insuring defendant Walden and any others entitled to protection
pursuant to the terms and conditions of the insurance policy. A true and exact, certified
copy of the policy is attached hereto as Exhibit 1, and is hereinafter referred to as “the
Walden policy."

35. `l'he insuring agreement of the Walden policy, contained in form CG 00 01

12 04, provided as follows:

SECT|ON l - COVERAGES

COVERAGE A BODil_Y |NJURY AND PROPERTY DAN!AGE LiABlL|TY
1. insuring Agreement

a. We wiii pay those sums that the insured becomes legally obligated to pay as
damages because of "bodiiy injury" or "property damage“ to which this insurance
appiies. VVe will have the right and duty to defend the insured against any "suit" seeking
those damages. However, we will have no duty to defend the insured against any "suit"
seeking damages for "bodiiy injury" or "property damage" to which this insurance does

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not appiy. We may, at our discretion, investigate any "occurrence" and settie any claim
or "suit" that may result But:

(1) The amount we will pay for damages is iimited as described in Section iii - Limits Of
lnsurance; and

(2) Our right and duty to defend ends when we have used up the applicable limit of
insurance in the payment of judgments or settlements under Coverages A or B or
medical expenses under Coverage C.

No other obligation or iiability to pay sums or perform acts or services is covered unless
explicitly provided for under Supplementary Payments - Coverages A and B.

b. This insurance applies to "bodiiy injury" and "property damage" only if:

(1) The "bodiiy injury" or "property damage" is caused by an "occurrence" that takes
place in the "coverage territory";

(2) The "bodiiy injury" or "property damage" occurs during the policy period; and

(3) Prior to the policy period, no insured listed under Paragraph 1. of Section li - Who is
An insured and no "employee" authorized by you to give or receive notice of an
"occurrence" or claim, knew that the "bodiiy injury" or "property damage" had
occurred, in whole or in part. if such a listed insured or authorized "emp|oyee“ knew,
prior to the poiicy period, that the "bodiiy injury" or "property damage" occurred, then
any continuation, change or resumption of such "bodiiy injury" or "property damage"
during or after the policy period will be deemed to have been known prior to the
policy period

c. "Bodily injury" or "property damage" which occurs during the policy period and
was not, prior to the poiicy period, known to have occurred by any insured listed under
Paragraph 1. of Section il - Who is An insured or any "employee" authorized by you to
give or receive notice of an "occurrence" or ciaim, includes any continuation, change or
resumption of that "bodiiy injury" or "property damage" after the end of the policy period.

d. "Bodily injury" or "property damage" wiii be deemed to have been known to have
occurred at the earliest time when any insured listed under Paragraph 1. of Section ll -
VVho is An insured or any "empioyee" authorized by you to give or receive notice of an
"occurrence" or claim:

(1) Reports ail, or any part, of the "bodiiy injury" or "property damage" to us or any other
insurer;

(2) Receives a written or verbai demand or claim for damages because of the "bodiiy
injury" or "property damage"; or

(3) Becomes aware by any other means that "bodiiy injury" or "property damage" has
occurred or has begun to occur.

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e. Damages because of "bodily injury" include damages claimed by any person or
organization for care, loss of services or death resulting at any time from the "bodiiy

injury".

*****

SECTION ill - LiMiTS OF iNSURANCE

1. The Limits of insurance shown in the Declarations and the rules below fix the
most we will pay regardless of the number of:

a. insureds;
b. Claims made or “suits” brought; or
c. Persons or organizations making claims or bringing “suits”.

36. The basic policy form also contains exclusions which may preclude
coverage for claims discussed here advanced as a result of the above incident:

2. Exciusions
This insurance does not apply to:
*****
a. Expected Or intended injury
"Bodily injury" or "property damage" expected or intended from the standpoint of the insured.

This exclusion does not apply to "bodiiy injury" resulting from the use of reasonable force to
protect persons or property

j. Damage To Property
"Property damage" to:
(1) Property you own, rent, or occupy, including any costs or expenses incurred by you,
or any other person, organization or entity, for repair1 replacement, enhancementl
restoration or maintenance of such property for any reason, including prevention of

injury to a person or damage to another's property;

{2) Premises you sell, give away or abandon, if the "property damage" arises out ot any
part of those premises;

(3) Property loaned to you;

(4) Personal property in the care, custody or control of the insured;

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(5) That particular part of real property on which you or any contractors or

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subcontractors working directly or indirectly on your behalf are performing
operations, if the "property damage" arises out of those operations; or

(6) That particular part of any property that must be restored, repaired or replaced
because "your work" was incorrectly performed on it.

Paragraphs (1), (3) and (4) of this exclusion do not apply to "property damage" (other
than damage by fire) to premises, including the contents of such premises, rented to you
for a period of 7 or fewer consecutive days. A separate limit of insurance applies to
Damage To Premises Rented To You as described in Section |il - Limits Of insurance

Paragraph (2) of this exclusion does not apply if the premises are "your work" and were
never occupied, rented or held for rental by you.

Paragraphs (3), (4), (5) and (6) of this exclusion do not apply to liability assumed under a
sidetrack agreement

Paragraph (6) of this exclusion does not apply to "property damage" included in the
"products-compietecl operations hazard".

m. Damage To impaired Property Or Property Not Physicaliy injured

"Property damage" to “impaired property“ or property that has not been physically
injured, arising out of:

(1) A defect, deficiency, inadequacy or dangerous condition in "your produc " or "your
work"; or

(2) A delay or failure by you or anyone acting on your behalf to perform a contract or
agreement in accordance with its terms.

This exclusion does not apply to the loss of use of other property arising out of sudden
and accidental physical injury to "your product" or "your work" after it has been put to its
intended use.

37. in addition, and perhaps most importantly, the policy contained the
following exclusion in endorsement CG 21 55 09 99, entitled "Total Pol|ution Exciusion
with a Hostile Fire Exception”, which provided as follows:

TOTAL POLLUT|ON EXCLUS|ON WlTH A HOSPiTAL F|RE EXCEPTiON

This endorsement modifies insurance provided under the foliowing:

CON'||V|ERClAL GENERAL LiABll_l'l'Y COVERAGE PART

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Exciusion f. under Paragraph 2, Exciusions of Section i - Coverage A -
Bodily injury And Property Damage Liability is replaced by the following: ’

This insurance does not apply to:
f. Poliution

(1) ‘Bodi|y injury’ or ‘property damage’ which would not have occurred
in whole or part but for the actual, alleged or threatened
discharge, dispersal, seepagel migration, release or escape of
‘pollutants’ at any time.

This exclusion does not apply to ‘bodily injury’ or ‘property
damage’ arising out of heat, smoke or fumes from a ‘hostile fire’
unless that ‘hostile fire’ occurred or originated:

 

(a) At any premises, site or location which is or was at any
time used by or for any insured or others for the handling,
storage, disposai, processing or treatment of waste; or

(b) At any premises, site or location on which any insured or
any contractors or subcontractors working directly or
indirectly on any insured’s behalf are performing
operations to test for, monitor1 clean up, remove, contain,
treat, detoxify, neutralize or in any way respond to, or
assess the effects of ‘po||utants’.

(2) Any |oss, cost or expense arising out of any:

(a) Request, demand, order or statutory or regulatory
requirement that any insured or others test for, monitor,
clean up, remove, contain, treat, detoxify or neutralize, or
in any way respond to, or assess the effects of ‘pollutants’;
or

(b) Claim or suit by or on behalf of a governmental authority
for damages because of testing for, monitoring, cleaning
up, removing, containingl treatingl detoxifying or
neutralizing, or in any way responding to, or assessing the
effects of, ‘poilutants’.

38. The Walden policy contained the following definitions;

7. "l-losti|e fire" means one which becomes uncontrollable or breaks out from
where lt was intended to be.

 

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15. "Pollutants" mean any solid, liquid, gaseous or thermal irritant or
contaminant, including smokel vaporl soot, fumes, acids, aikalis, chemicals and
waste. Waste includes materials to be recycled, reconditioned or reclaimed

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39. lVlany of the claims advanced as a result of the event described above
would be excluded by application of this exclusion.
40. There is no other policy or coverage issued by Bituminous which would
provide any coverage for any claims referenced herein.
41. The following defendants have asserted a claim against Walden and/or
Dan Potts resulting from the events described above:
Name: Jonathan Vann
Date: Arnended Complaint, styled Vann v. Walden
Resources, LLC and ZTX Driiling, LLC, filed

10/02/2008 in Anderson County Circuit Court
under docket number A8LA0229

Ciaim: $4.5 million

Name: Superior Well Services and Grlffith Services,
LLC

Date: Complaint, styled Superior Well Services, and

Griffith Services, LLC v. Dan Potts ol/b/a
Walden Resources, LLC, Walden Resources,
LLC, individually, and ZTX Dn`iling, LLC, filed
2/03/2009 in Anderson County Circuit Court
under docket number A9l_A0050

Ciaim: 3919,256.00

Name: Wild Well Control

invoice No: 01755

Ciaim: $480,355.78 for blowout and pressure control

services, equipment rental, third-party freight
mobilization charges

Name: Wild VVell Control

invoice No: 01794

Ciaim: $61,844.69 for third-party freight and
mobilization charges.

Name: Blowout Toois, inc.

invoice No: LA83349

Ciaim: $30,393.97 for labor, travel expenses, and re-

stocking charge for equipment

Name: Universal Well Services, lnc.

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invoice No:

Ciaim:

Name:

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000049620
$23,516.27 for pump equipment, sand delivery,
and fuel surcharge

iVliiler Petroieum, lnc.
0804-001
$8,045.00 for vacuum truck and labor.

Fay Portable Buildings, lnc.
060389
$436.00 for short term toilet rental.

Engineering Construction Services, inc.

1067 -
$11,124.64 for hauling sand and rock and fuel
surcharge

Dig lt Up Excavation Co.

1032

$18,765.00 for excavation and damage control
with dozer and backhoe.

Dig lt Up Excavation Co.

1033

$2,709.00 for excavation and damage control
with dozer and backhoel as well as fuel put into
ZTX dozer.

Volunteer Trenching

1

$47,189.27 for dozer, track hoe, and pump
truck.

Biilings Crane & l\/lechanical, lnc.

1587

$22,520.00 for labor to operate hydraulic
crane

Biilings Crane & i\/iechanical, inc.
1588
$19,400.00 for use of hydraulic crane

B. J. Services Company
1364866

14
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Ciaim:

Name:

invoice No:

Ciaim:

Name:

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3104,485.10 for labor for well control field
supervisor and equipment operator, well
control and cut off equipment and toois.

North East Nlud Services Company, LLC
0000668-1N
$5,440.50 for sait.

North East Nlud Services Company, i_LC
0000599-iN
$2,231.25 for delivery charges

North East Nlud Services Company, LLC
0000595-|l\l
$5,865.00 for salt and delivery charge

North East lViud Services Company, LLC
0000550-|N
$6,112.80 for delivery charges

North East Nlud Services Company, Ll_C
0000860-|N
$3,091.29 for delivery charges.

North East Nlud Services Company, LLC
Statement of various invoices
$19,231.05

L&D Well Service

19023

$6,601.90 for wench and water trucks and fuel
surcharge

East Tennessee Construction

1616

$116,248.08 for Emergency delivery and use
of various equipment including dozers,
forklifts, service trucks, track hoes, etc., and
various metal and welding supplies

Quality Suppiy
Submitted to East Tennessee Construction
$2,496.25 for shackles and slings.

Blowout Toois, lnc.
l_A63536

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Ciaim:

Name:

invoice No:

Ciaim:

Name:

invoice No:

Ciaim:

Name:

invoice No:

Ciaim:

Name:

invoice No:

Ciaim:

Name:

Ciaim:

Name:
Ciaim:

Name:
Ciaim:

$6,210.70 for possible cost of repair or
replacement of tools damaged in fire

Blowout Tools, inc.

i_A63338

$17,745.00 for reimbursement for cost of tools
and equipmentl such as hydraulic tracking
system, hydraulic hand pump, bridle hoses,
ciamps, and clam shell cutters destroyed in the
fire

iViiiler Petroleum, lnc.

0804-003

$817.71 for reimbursement for cost of hoses
destroyed in the tire

Robert and Debra Keily

Submitted through the National Pollution Funds
Center

$5,563.22 for hay, grain, gravel, and |abor.

iVlarlow Volunteer Fire Department

Submitted through the National Pollution Funds
Center

820,424.00 for labor and use of equipment in
fighting and containing fire.

U.S. Government, including the EPA and
NPFC

$1,499,541.85 Federai removal and cleanup
costs.

The Penningtons (by Brad Pennington)
Wiidcat teams staged out of their lots to fight
the fire and used Water from ponds on their
properties to fight it.

Ciifford N. i-lenderson, Jr.
$1,515.30 for explosion damage to Gulfstream
trailer

42 The suits and/or claims against the insured/insureds under the Walden

policy exceed the remaining policy limits of 8910,030.76.

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43. 'i'he United States Government, including the National Pollution Funds
Center and the United States Environmental Protection Agency, has notified Bituminous
that it is taking the position that its claims against defendant Walden are entitled to first
payment pursuant to the Federai Debt Priority Statute, 31 U.S.C. § 3713, and that it will
pursue remedies against Bituminous under the Federai Debt Collection Procedures Act,
28 U.S.C. §3001 if other claims are paid first

44. The United States Government, including the National Poilution Funds
Center and the United States Environmental Protection Agency, has notified Bituminous
that it may pursue its claims against the Walden policy even if no coverage is provided
by the poiicy.

45. 'l`he United States Government, including the National Po|lution Funds
Center and the United States Environmental Protection Agency, did not originally take
this position as it pertains to policies that provide no coverage for its claims, and the

following claims were therefore settled;

Name: AT & T

invoice No: BLST-68-200804-34-0029-Jl_C
Ciaim: $5712.21

Name: Tate and Angela Lioyd
Ciaim: $2,222.00

Name: Betty Russell

Ciaim: $2443.00

Name: irene Daugherty
Ciaim: $2850.00

Name: Richard A. Gallaher
Ciaim: $500.00

Name: Richard E. Gaiiaher

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Ciaim: $1748.00

 

Name: Sharon Diane Powers

Ciaim: $1300.00

Name: iVlllier Petroieum

Ciaim: $817.71

Name: State i-`arm as subrogee of Brett White

Ciaim: $21,467.05

Name: Patricia Cox

Ciaim: $600.00

Name: Tennessee Farmers as subrogee of Scott
Biankenship

Ciaim: $20,334.00

Name: S & L Contracting

Ciaim: $29,975.27

46. Because of the position now taken by the United States Government,
including the National Pollution Funds Center and the United States Environmental
Proteotion Agency, no further claims can be settled by Bituminous

47. The Walden policy provides, with respect to the liability coverage, that

Bituminous shall:

a. We will pay those sums that the insured becomes legally obligated
to pay as damages because of "bodiiy injury" or "property damage" to
which this insurance applies. We will have the right and duty to defend
the insured against any "suit" seeking those damages However, we will
have no duty to defend the insured against any "suit" seeking damages for
"bodiiy injury" or "property damage" to which this insurance does not
apply. We may, at our discretion, investigate any "occurrence" and settle
any claim or "suit" that may result But:

 

(1) The amount we will pay for damages is limited as described in
Section iii - Limits Of insurance; and

 

(2) Our right and duty to defend ends when we have used up the
applicable limit of insurance in the payment of judgments or
settlements under Coverages A or B or medical expenses under
Coverage C.

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No other obligation or liability to pay sums or perform acts or services is
covered unless explicitly provided for under Supplementary Payments -
Coverages A and B.

Walden policy, form CG 00 01 12 04, Section l - Coverages
48. On lVlarch 18, 2008, AlVlV\/ES had the following policies in effect with

Bituminous (listing ZTX as an additional named insured):

 

 

Policy Number Coverage Type Copy Attached as
CAP 3 513 226 Commercial Automobile Liability Exhibit 2
Policy

 

WC 3 513 227 Workers Compensation and Exhibit 3
Employers Liability Policy
Ci_P 3 242 448 Commercial General Liability Policy Exhibit 4
CUP 2 580 714 Commercial Umbrella Policy Exhibit 5
CLP 2 336 581 Commercial Poliution Liability Policy Exhibit 6

 

 

 

 

 

 

 

 

49. Although defendant AlViWES is a Florida corporation with its principal
places of business in Florida, Bituminous issued and delivered the foregoing policies to
AMWES' location in Kentucky.

50. No coverage would be afforded to defendants Ai\/iVVES or ZTX under the
Commercial Automobiie Liability Policy, Policy number CAP 3 513 226, for any of the
claims or suits arising for the above-referenced incident This policy is designed to
provide coverage arising from the ownership, maintenance or use of automobiles in
accordance with the terms and conditions of the policy, and there are no claims arising
from such usage

51. There have been no damages, injuries or claims that would be covered
under the Workers Compensation and Employers Liability Policy, policy number WC 3

513 227.

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52 No coverage would be afforded to Ai\/iWES or ZTX Driiiing LLC under the
Commercial General Liability Policy, policy number CLP 3 242 448, for any of the claims
or suits arising from the discharge of oil and gas

53. The Commercial General Liability Policy, policy number CLP 3 242 448,
contained the following insuring agreement in form CG 00 01 12 04, Which provides as

follows:

SECT|ON l-- COVERAGES

COVERAGE A BODiLY |NJURY AND PROPERTY DAMAGE i_|ABiLiT¥
1. insuring Agreement

a. We will pay those sums that the insured becomes legally obligated to pay as damages
because of "bodiiy injury" or "property damage" to which this insurance applies We will have the
right and duty to defend the insured against any "suit" seeking those damages However, we will
have no duty to defend the insured against any "suit" seeking damages for "bodiiy injury" or
"property damage" to which this insurance does not apply. We may, at our discretion, investigate
any "occurrence" and settle any claim or "suit" that may resultl But:

(1) The amount we will pay for damages is limited as described in Section iii - Limits Of
insurance; and

(2) Our right and duty to defend ends when we have used up the applicable limit of insurance in
the payment of judgments or settlements under Coverages A or B or medical expenses
under Coverage C.

No other obligation or liability to pay sums or perform acts or services is covered unless explicitly
provided for under Supp|ementary Payments - Coverages A and B.

b. This insurance applies to "bodiiy injury" and "property damage" only if:

(1} The "bodiiy injury" or "property damage" is caused by an "occurrence" that takes place in the
"coverage territory";

(2) The "bodiiy injury" or "property damage" occurs during the policy period; and

(3) Prior to the policy period, no insured listed under Paragraph 1. of Section ii - Who is An
insured and no "empioyee" authorized by you to give or receive notice of an "occurrence" or
ciaim, knew that the "bodily injury" or "property damage" had occurred, in whole or in part. if
such a listed insured or authorized "empioyee" knew, prior to the policy period, that the
"bodiiy injury" or "property damage" occurred, then any continuation, change or resumption of
such "bodiiy injury" or "property damage" during or after the policy period will be deemed to
have been known prior to the policy period.

c. "Bodiiy injury" or "property damage" which occurs during the policy period and was not,
prior to the policy period, known to have occurred by any insured listed under Paragraph 1. of

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Section ii - Who is An insured or any "empioyee" authorized by you to give or receive notice of
an "occurrence" or ciaim, includes any continuation, change or resumption of that "bodiiy injury"
or "property damage" after the end of the policy period.

d. "Bodiiy injury" or "property damage" will be deemed to have been known to have
occurred at the earliest time when any insured listed under Paragraph 1. of Section ii - Who ls
An insured or any "empioyee" authorized by you to give or receive notice of an "occurrence" or
ciaim:

(1) Reports aii, or any part, of the "bodiiy injury" or "property damage" to us or any other insurer;

{2) Receives a written or verbal demand or claim for damages because of the "bodiiy injury" or
"property damage"; or

(3) Becomes aware by any other means that "bodiiy injury" or "property damage" has occurred or
has begun to occur.

e. Damages because of "bodiiy injury" include damages claimed by any person or
organization for care, loss of services or death resulting at any time from the "bodiiy injury".

54. While Bituminous reserves its right to contest coverage under this policy
for any and all reasons Bituminous believes that questions regarding coverage under
this policy for any damages arising from the discharge of oil and gas can be resolved by
reference to the following “Total Poilution Exciusion” included by way of endorsement
CG 21 49 09 99, which provides as follows:

TOTAL POLLUTION EXCLUSlON ENDORSEMENT

This endorsement modifies insurance provided under the foilowing:

COM|V|ERCEAL GENERAL LlABlLlTY COVERAGE PART

Exciusion f. under Paragraph 2, Exciusions of Section i - Coverage A - Bocliiy injury
And Property Damage Liability is replaced by the following;

This insurance does not apply to:
f. Poi|ution
(1) ‘Bodi|y injury’ or ‘property damage’ which would not have occurred
in whole or part but for the actual, alleged or threatened
discharge dispersa|, seepage, migration, release or escape of

‘pollutants’ at any time

(2) Any ioss, cost or expense arising out of any:

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(a) Request, demand, order or statutory or regulatory
requirement that any insured or others test for, monitor,
clean up, remove, contain, treat, detoxify or neutralize or
in any way respond to, or assess the effects of ‘pollutants’;
or

(b) Ciaim or suit by or on behalf of a governmental authority
for damages because of testing for, monitoring, cleaning
up, removing, containing, treating, detoxifying or
neutralizing, or in any way responding to, or assessing the
effects of ‘pollutants’.

55. This exclusion excludes coverage for any and all “bodily injury" or
"property damage" arising from the discharge of poiiutants, which would include oil
and/or natural gas All damages, injuries or claims arose from such an event, and thus
this exclusion would exclude ali damages, injuries or claims Again, Bituminous avers
that other exclusions may also appiy, but will reserve the right to specifically assert
those in amendments to this Complaint in the event that coverage under this policy is
contested

56. No coverage Would be afforded to Ai\/iVVES or ZTX Drilling LLC under the
Commercial Umbrella Policy No. CUP 2 580 714. The insuring Agreement of this
Umbrella Policy provided as follows:

AMENDMENT OF |NSURlNG AGREEN|ENT

Paragraph 1. |NSURING AGREEliliENT of SECTiON l - COVERAGE A.

BODiLY |NJURY AND PROPERTY DAMAGE LlABiLiTY is replaced by the

following:

1. |NSURING AGREEiiiiENT

a. We will pay on behalf of the insured the ‘ultimate net loss’ in
excess of the ‘retained iimit’ because of ‘bodiiy injury’ or ‘property
damage' caused by an ‘occurrence' which takes place during the
policy period and in the ‘coverage territory.’ No other obligation or
liability to pay or perform acts or services is covered unless

explicitly provided for under SECTlON ll - DEFENSE AND
SUPPLEMENTARY PAYMENTS - COVERAGES A and B.

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b. This insurance applies to ‘bodily injury’ and ‘property damage’ only
if prior to the policy periodl no insured listed under paragraph 1. of
SECT|ON ll - DEFENSE AND SUPPLEMENTAR¥ PA¥MENTS -
COVERAGES A and B.

c. ‘Bodiiy injury’ or ‘properly damage’ which occurs during the policy
period and was not, prior to the policy period, known to have
occurred by any insured listed under Paragraph 1. of SECTION iii
- WHO |S AN iNSURED or any ‘employee’ authorized by you to
give or receive notice of an ‘occurrence’ or ciaim, includes any
continuation, change or resumption of that ‘bodily injury’ or
‘property damage’ after the end of the policy period

d ‘Bodily injury’ or ‘property damage’ will be deemed to have been
known to have occurred at the earliest time when any insured
listed under Paragraph 1. of SECTiON iii - WHO lS AN |NSURED
or any ‘employee’ authorized by you to give or receive notice of an
‘occurrence’ or claim;

(1) Reports alll or any part1 of the ‘bodily injury’ or ‘properiy
damage’ to us or any other insurer; or

(2) Receives a written or verbal demand or claim for damages
because of the ‘bodily injury’ or ‘property damage’; or

(3) Becomes aware by any other means that ‘bocliiy injury’ or
‘property damage’ has occurred or has begun to occur.

57. This Commercial Umbrella Policy contained endorsement CUP 01 72 07

01, which provides:
POLLU'i'iON EXCl_USiON - FOLLOW FORM
lt is agreed that this policy does not apply to:

(1) ‘Bodiiy injury,’ ‘property damage’ or ‘personal and advertising injury’
arising out of the actual, alleged or threatened discharge dispersall
seepage migration, release or escape of ‘poiiutants’ at any time; or

(2) Any loss, cost, or expense arising out of any:

(a) Request, demand or order that any insured or others test for,
monitor, clean up, remove contain, treat, detoxify or neutralize or
in any way respond to, or assess the effects of ‘poliutants’; or

(b) ‘Claim’ or ‘suit’ on behalf of a governmental authority for damages
because of testing for, monitoring, cleaning up, removing,
containing, treating, detoxifying or neutralizing, or in any way
responding to, or assessing the effects of ‘po||utants”

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This exclusion does not apply if insurance for such ‘bodiiy injury,’ ‘property
damage’ or ‘persona| and advertising injury’ is provided by ‘underlying insurance’
at the limits shown in the schedule of ‘underlying insurance.’ Coverage for such
‘bodiiy injury,’ ‘property damage’ or ‘personai and advertising injury’ is subject to
the same limitations as the ‘underlying insurance.'

The definition of ‘underlying insurance’ does not include insurance coverage
afforded by:

GENERAL LlABlLlTY - COVERAGE D. - LlMlTED POLLUTlON
COVERAGE;

AUTONIOB|LE l_lABll_iT¥ - ENDORSElVIENT CA 9948 - BROADENED
COVERAGE FOR COVERED AUTOS; or

AUTOl\/lOBiLE l_l/-\B|L|TY - ENDORSEMENT AA 3056 POLLUT|ON
LlABiLITY - BROADENED COVERAGE FOR COVERED AUTOS,
TRANSPORTAT|ON OF DES|GNATED POLLUTANTS.

‘Poilutants’ means any solid, liquid, gaseous or thermal irritant or contaminant including
smoke vapor, soot, fumes, acids, alkalis, chemicals and waste Waste includes
materials to be recycled, reconditioned or reclaimed

58. The Umbrella policy contains the following definitions
19. ‘Retained iimit’ means the greater of:

a. That amount of ‘underlying insurance’ applicable to any ‘claim’ or
‘suit,’ whether such ‘underlying insurance’ is coilectab|e or not; or

b. The amount of ‘seif-insured retention’ as shown in the
Declarations of this poiicy.

23. ‘Ultimate net loss’ means that total amount of damages for which the
insured is legally liable _in payment of ‘bodiiy injury.’ ‘property damage’
‘personai injury,’ or ‘advertising injury.’ ‘Ultimate net ioss’ may be
established by adjudication, arbitration, or a compromise settlement to
which we have previously agreed in writing. ‘Uitlmate net loss’ shall be
reduced by any recoveries or salvages which have been paid or will be
collected but the amount of ‘uitimate net ioss’ shall not include any
expenses incurred by any insured, by us or by any ‘underlying insurer.’

24. ‘Underiying insurancel means the coverage(s) afforded under insurance
policies designated in the schedule of ‘underlying insurance’ on the
Declarations Page of this policy. ‘Under|ying insurance’ also includes any
other insurance available to the insured, except such insurance as may
be purchased to apply specifically in excess of this policy. Such other
insurance includes any policies issued to renew or replace these policies
during the policy period of this insurance that provide:

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a. At least the same limits of insurance; and
b. At least the same coverage

25. ‘Underlying insurer' means any company issuing any policy of ‘underlying
insurance.’

59. As has been demonstrated above there is no insurance afforded by any
policy listed on the “Scheduie of Underlying lnsurance” contained in the Declarations of
the Commercial Umbrella Policy for any limit shown. Therefore, the Pollution Exciusion
cited above excludes coverage for any and all claims which could be asserted as a
result of the event and claims set forth herein Again, Bituminous reserves the right to
assert additional policy provisions and exclusions should this coverage position be
contested

60. i-lowever, on ivlarch 18, 2008, Bituminous also had in full force and effect
the Commercial Po|lution Liability Policy, policy number CLP 2 336 581, insuring
defendant AiVlWES and any others entitled to protection pursuant to the terms and
conditions of the insurance policy. Defendant ZTX was an additional named insured on
the AlVlWES policy. A true and exactl certified copy of the policy is attached hereto as
Exhibit 6, and is hereinafter referred to as “the ZTX Poiiution l_iability policy." The policy
limits of the ZTX Pollution Liability policy available for satisfaction of judgment or
settlement are One i\/liiiion ($1,000.000.00) Dollars.

61. The following claims and/or suits have been asserted against ZTX:

Name: Jonathan Vann

Date: Amended Complaint, styled l/ann v. Walden
Resources, LLC and ZTX aniiing, LLC, filed
10102/2008 in Anderson County Circuit Court

under docket number A8LA0229
Ciaim: $4.5 million

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Name: United States Government, including the
Environmental Proteotion Agency and the
National Poiiution Funds Center

invoice No: E078430

Date: 9/30/2008

Ciaim: $1,499,541.85 for pollution removal/cleanup
costs

Name: Wild Well Control

Date: 3/31/2008

Ciaim: $460,355.78 for blowout and pressure control

services, equipment rental, third-party freight
mobilization charges

Name: Wild Well Control

Date: 3/31/2008

Ciaim: $61,844.69 for third-party freight and
mobilization charges

Name: iViariow Volunteer Fire Department

Date: 6/1 312008

Ciaim: $20,424.00 for labor and use of equipment in

fighting and containing fire (tendered by
counsel for Walden Resources, LLC, George
Buxton, by letter dated 611 8/2008)

Name: Superior VVell Services and Griffith Services,
LLC
Date: Complaint, styled Su,oen'or Well Services, and

Griffith Services, LLC v. Dan Potts d/b/a
Walden Resources, LLC, Walden Resources,
LLC, individualiy, and ZTX Driiiing, LLC, filed
2/03/2009 in Anderson County Circuit Court
under docket number A9LA0050

Ciaim: $919,256.00

62 `l'he insuring agreement of the ZTX Pollution Liability Policy provided:

SECT|ON | - POLLUTION LiABiLlTY COVERAGE
1. insuring Agreement - Bodiiy injury And Property Damage Liability

a. VVe will pay those sums that the insured becomes legally obligated
to pay as compensatory damages because of ‘bodily injury’ or
‘property damage’ to which this insurance applies We will have
the right and duty to defend the insured against any ‘suit’ seeking

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those damages However, we will have no duty to defend the
insured against any ‘suit’ seeking damages for ‘bodily injury’ or
‘property damage’ to which this insurance does not apply. We
may, at our discretion, investigate any ‘pol|ution incident’ and
settle any claim or ‘suit that may result But:

(1) The amount we will pay for damages is limited as
described in Section iii - Limits Of insurance; and

(2) Our right and duty to defend ends when we have used up
the applicable limit of insurance in the payment of
judgments settlements or ‘ciean-up costs’.

b. This insurance applies to ‘bodi|y injury’ and ‘property damage’ only
if:

('l) The ‘bodliy injury’ or ‘property damage’ is caused by a
‘pol|ution incident’ from an ‘insured site’ or ‘waste facility’ in
the ‘coverage territory’;

(2) The ‘bocliiy injury’ or ‘property damage’ is caused by a
‘pol|ution incident’ that commences on or after the
Retroactive Date shown in the Declarations;

(3) The insureds responsibility to pay damages because of
rbodily injury’ or ‘property damage;’ is determined in a ‘suit’
on the merits in the ‘coverage territory’ or in a settlement
we agree to; and

(4) A claim for damages because of the ‘bodiiy injury’ or
‘property damage’ is first made against any insured, in
writing, in accordance with Paragraph c. beiow, during the
policy period or any Extended Reporting Period We provide
under Section V - Extended Reporting Period Option.

c. A claim by a person or organization seeking damages will be
deemed to have been made at the earlier of the following times:

(1) When notice of such claim is received and recorded by any
insured or by us, whichever comes first; or

(2) When we make a settlement in accordance with Paragraph
1.a. above

All claims for damages because of ‘property damage’ causing loss
to the same person or organization as a result of a ‘pollution
incident’ will be deemed to have been made at the time the first of
those claims is made against any insured

2. insuring Agreement - Reimbursement Of llilandated Off-Site Ciean-
Up Costs

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a. VVe will pay for ‘clean-up costs’ that the insured becomes legally
obligated to pay for because of environmental damage’ to which
this insurance applies We have the right but no the duty to
investigate settle contest or appeal, at our expense any
obligation asserted against an insured to pay ‘clean-up costs’. But
the amount we will pay for such ‘clean-up costs’ is limited as
described in Section ill - Limits Of insurance; and

b. This insurance applies to ‘environmentai damage’ only if:

(1) The ‘environmental damage’ is caused by a ‘poiiution
incident’ that commences on or after the Retroactive Date
shown in the Declarations from an ‘insured site’ or ‘waste
facility’ in the ‘coverage territory’; and

(2) The insured’s obligation to pay ‘clean-up costs’ because of
the ‘environmental damage’ is asserted under the statutory
authority of the government of the United States of
American, Canada or any governmental subdivisions of the
United States or Canada. Notice asserting such obligation
must be first received by you during the policy period

3. No other obligation or liability to pay sums or to perform acts or services is
covered unless explicitly provided for under Suppiementary Payments

SECT|ON lll - l_lliiliTS OF |NSURANCE

1. The Limits of insurance shown in the Declarations and the rules below fix the
most We will pay regardless of the number of:

a. lnsureds;

b. C|airns made or “suits” brought

c. Persons or organizations making claims or bringing “suits”; or
d. Governmental actions taken With respect to “clean-up costs”.

63. The United States Government, including the National Poiiution Funds
Center and the United States Environmental Proteotion Agency, has also notified
Bituminous that it is taking the position that its claims against defendant ZTX are entitled
to first payment pursuant to the Federai Debt l-“’riority Statute, 31 U.S.C. § 3713, and
that it will pursue remedies against Bituminous under the Federai Debt Collection

Procedures Act, 28 U.S.C. §3001 if other claims are paid first

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64. Because the ZTX Pollution Liability Policy potentially provides coverage
for the U.S. Government’s claims against Z'i'X, none of the policy proceeds have been
expended in settlement of claims made against ZTX.

65. The ZTX Pollution i_iability policy does contain exclusions which would be
applicable to portions of various ciaims, but there are no claims asserted which would
not be covered and/or would be excluded in their entirety

66. The ZTX Pollution Liability policy provides, with respect to the liability
coverage that Bituminous shail:

a. We will pay those sums that the insured becomes legally obligated

to pay as compensatory damages because of ‘bodily injury’ or ‘property

damage’ to which this insurance applies We will have the right and duty

to defend the insured against any ‘suit’ seeking those damages However,

we will have no duty to defend the insured against any ‘suit’ seeking

damages for. ‘bodily injury’ or ‘property damage’ to which this insurance

does not apply. We mayr at our discretion, investigate any ‘poilution

incident’ and settle any claim or ‘suit that may result But:

(1) The amount we will pay for damages is limited as described
in Section l|i -- Limits Of insurance; and

(2) Our right and duty to defend ends when we have used up
the applicable limit of insurance in the payment of
judgments, settlements or ‘clean-up costs’.

No other obligation or liability to pay sums or to perform acts or services is
covered unless explicitly provided for under Suppiementary Payments

Ai\/iWES policy, Section l - Pollution Liability Coverage

67_ Bituminous has retained defense counsel to assist Walden and ZTX in the
handling of these claims under Reservation of Rights.

68. Bituminous has been requested to pay its policy limits of the Walden
policy and the ZTX Pollution incident policyl and/or allow such policy limits to be used to

satisfy some of the claims and/or suits set forth above 'l'he claims and/or suits exceed

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the available policy limits Because Bituminous has been put on notice by the United
States Government that it is taking the position that its claims are entitled to first payment
from the policies pursuant to the Federai Debt Priority Statute, 31 U.S.C. § 3713,
regardless of whether the policies provide coverage for the claimsl Bituminous cannot do
this without potentially violating the Federai Debt Priority Statute and exposing itself to
liability under the Federai Debt Coiiection Procedures Act, 28 U.S.C. §3001.

69. The debt priority statute provides as follows:

(a)(1) A claim of the United States Government shall be paid first when -

(A) a person indebted to the Government is insolvent and -

(i) the debtor without enough property to pay all debts makes a
voluntary assignment of property;

(ii) property of the debtor, if absent, is attached; or
(iii) an act of bankruptcy is committed; or

(B) the estate of a deceased debtor, in the custody of the executor or
administrator, is not enough to pay all debts of the debtor.

(2) This subsection does not apply to a case under title 11.
(b) A representative of a person or an estate (except a trustee acting under

title 11) paying any gart of a debt of the person or estate before gaying
a claim of the Government is liable to the extent of the payment for

unpaid claims of the Government.
31 U.S.C. § 3713 (emphasis added). The Government has afhrmatively taken the position
in this case that this provision applies to Bituminous.
70. Bituminous had requested that the United States Department of Justice
reconsider these issues With respect to the Walden policy to determine if the United States
Governrnent could validly assert priority to a policy that provides no coverage for is claims

However, suit was initiated by defendants Vannl Superior and Griffith before a position

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was received from the Department of Justice, and Bituminous was compelled to bring this
suit to avoid the possibiiity of an order of judgment inconsistent with the United States
Government’s position.

71. Bituminous alleges and avers that an actuai controversy exists between
itself and the defendants within the meaning of 28 U.S.C. § 2201, and that this Court is
vested with the power in the instant case to declare and adjudicate the rights and legal
relationships of the parties with reference to the issues raised herein. The federal question
raised by these pleadings is also appropriate for the Court’s consideration as a justiciable
controversy

lV. DECLARATORY RELlEF REQUESTED

72. Bituminous re-avers and re-ai|eges the allegations of 1111 1-71 of its
Compiaint.

73. With respect to the Walden policy, Bituminous requests the following
declaratory relief be granted:

a. That the Court adjudicate and declare that the remaining policy
limits available to Walden under the Walden policy are $910,030.76, that being the sum
of One lVlillion Doilars less amounts previously expended in settiement of claims; and

b_ That the Court adjudicate and declare that the Walden poiicy
provides no coverage for the claims asserted by the United States Government, the
United States Governrnent therefore has no right to any of proceeds from the Walden
policy, no priority pursuant to the Federai Debt Priority Statute to any of proceeds from
the Walden policy, and no right to pursue its claims against Bituminous pursuant to the

Federal Debt Collection Procedures Act.

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74. With respect to ZTX, Bituminous requests the following declaratory relief
be granted:

a. No coverage would be afforded to AMWES or ZTX Driiling LLC
under the Commercial Automobile l_iability Policyl Policy number CAP 3 513 226, for any
of the claims or suits arising for the above referenced incident;

b. There have been no damages, injuries or claims that would be
covered under the Workers Compensation and Employers i_iability Policy, poiicy
number WC 3 513 227;

c. No coverage would be afforded to AlViWES or ZTX Drilling LLC
under the Commercial General Liability Policy, policy number CLP 3 242 448, for any of
the claims or suits arising from the discharge of oil and gas;

d. No coverage would be afforded to AI\AVVES or ZTX Dril|ing LLC
under the Commercial Umbrella Policy No. CUP 2 580 714; and

e. The Commercial Pollution Liability Policy, policy number CLP 2 336
581 insuring Al\/|VVES and ZTX is the only policy issued by Bituminous that provides any
coverage for any of the claims or suits arising from the discharge of oil and gas, and
that the policy limits of the ZTX Pollution Liability policy available for satisfaction of
judgment or settlement are One lVlillion ($1,000.000.00) Dollars.

75. With respect to both Walden and ZTX, Bituminous requests the Court
adjudicate and declare that upon tender of its limits/remaining policy iimits into Court,
Bituminous will have complied with its obligations under the Walden policy and the ZTX
Pollution incident policy, and would have no duty to defend the interest of any entity

entitled to protection under any policy issued to Walden and/or AMWES/ZTX.

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V. FEDERAL QUEST|ON PRESENTED

76. Bituminous re-avers and re-alleges the allegations of 1111 1-75 of its
Complaint.

77. Pursuant to federal statute 28 U.S.C. § 1331, this Court has original
jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the United
States.

78. Bituminous seeks relief in this action pursuant to federal law, specifically
the Declaratory Judgment Act, as codified in 28 U.S.C. § 2201 and Rule 57 of the
Federai Rules of Civii Procedure, and the Federai interpleader Act, as codified in 28
U.S.C. § 1335 and Rule 22 of the Federai Rules of Civil Procedure.

79. The federal question presented is whether the Debt Priority Statute, 31
U.S.C. § 3713, entitles the United States Government to first payment from the Walden
policy proceeds, even though the Walden policy provides no coverage for the claims
asserted by the United States Government.

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80. Bituminous re-avers and re-alleges the allegations of 1111 1-79 ot its
Complaint.

81. As established above, Bituminous cannot make payment to all parties
presenting claims without subjecting itself to potential liability because Bituminous has
been put on notice by the United States Govemment that it is taking the position that its
claims are entitled to first payment from the policies pursuant to the Federai Debt Priority
Statute, 31 U.S.C. § 3713, regardless of whether the policies provide coverage for the

claims.

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82. Bituminousl thus, has been presented with multiple claims for recovery.
lts policy limits are insufficient to satisfy all demands and/or exposure lt cannot
determine which individuals and/or entities should be paid, or the amounts to be paid to
each such claimant The total amount of the claims asserted by the various claimants
against Bituminous, and its insureds, exceeds the limit of liability in this case.

83. Bituminous is, thus, in the position of having multiple claims for relief
presented against it, with inadequate resources to fully pay all claims. Accordingiy,
Bituminous is presented with a threat of multiple litigation and inconsistent results and
therefore requests that this l-lonorable Court grant its interpleader and distribute the
remaining limits of the of the Walden policy and the ZTX Pol|ution incident policy, to be
deposited into Court in accordance With the applicable law and/or the request for
division made by the multiple claimants/defendants set forth above.

84. Pursuant to 28 U.S.C. § 1335, two or more adverse ciairnants, of diverse
citizenship as defined in 28 U.S.C. § 1332, are claiming or may claim to be entitled to
such money or property, or to any one or more of the benefits arising by virtue of the
Walden policy and/or the ZTX Pollution incident policy, and Bituminous has offered the
deposit of such money to be made in accordance with Fed. R. Civ. P. 67.

85. Bituminous will deposit into the Court, the amount of $910,030.76
representing the remaining limits of liability under the Walden policy, pursuant to Fed. R.
Civ. P. 67 upon entry of an appropriate Order by this Court as required by LR67.1.

86. Bituminous will deposit into the Court, the amount of One l\/lillion Doliars,
representing the policy limits of the ZTX Pollution incident policy, pursuant to Fed. R.

Civ. P. 67 upon entry of an appropriate Order by this Court as required by LR67.1,

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87. The Walden policy provides With respect to the liability coverage, that
Bituminous shali:

a. We will pay those sums that the insured becomes legally obligated
to pay as damages because of "bodiiy injury" or "property damage" to
which this insurance applies We will have the right and duty to defend
the insured against any "suit" seeking those damages However, we will
have no duty to defend the insured against any "suit" seeking damages for
"bodily injury" or "property damage" to which this insurance does not
apply. We may, at our discretion, investigate any "occurrence" and settle
any claim or "suit" that may resuit. But:

(1) `l`he amount we will pay for damages is limited as described in
Section ii| - Limits Of insurance; and

(2) Our right and duty to defend ends when we have used up the
applicable limit of insurance in the payment of judgments or
settlements under Coverages A or B or medical expenses under
Coverage C.

No other obligation or liability to pay sums or perform acts or services is
covered unless explicitly provided for under Suppiementary Payments -
Coverages A and B.

Walden policy, form CG 00 01 12 04, Section l - Coverages
88. The ZTX Pollution incident policy provides with respect to the liability
coverage, that Bituminous shaii:

a. We will pay those sums that the insured becomes legally obligated
to pay as compensatory damages because of ‘bodily injury’ or ‘properiy
damage’ to which this insurance applies We will have the right and duty
to defend the insured against any ‘suit’ seeking those damages However,
We will have no duty to defend the insured against any ‘suit’ seeking
damages for ‘bodily injury’ or ‘property damage’ to which this insurance
does not apply. We may, at our discretion, investigate any ‘poliution
incident’ and settle any claim or ‘suit that may result. But:

(1) The amount we will pay for damages is limited as described
in Section ill - l_imits Of insurance; and

(2) Our right and duty to defend ends when we have used up
the applicable limit of insurance in the payment of
judgments settlements or ‘clean-up costs’.

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No other obligation or liability to pay sums or to perform acts or services is
covered unless explicitly provided for under Suppiementary Payments

AMWES policy, Section l - Pollutlon Liability Coverage.

89. Bituminous seeks the declaration and ruling that, upon tender of its
remaining policy limits into Court, it will have complied with its obligations under the
Walden policy and any policy insuring AMWES and/or ZTX1 and would have no duty to
defend the interest of any entity entitled to protection in any further litigationl

90. Upon such deposit, pursuant to Fed. R. Civ. P. 67, Bituminous would no
longer be an interested party to the method of distribution, and would request that this
Court discharge it from the interpleader action.

Vii. lNJUNCT|VE RELlEF

91. Bituminous re-asserts and re-aileges 1111 1-90 of its Complaint.

92. Each defendant in this case has presented and/or has a claim or cause of
action and/or has made demand upon Bituminous and/or is entitled to benefits under
the Walden policy and/or the ZTX Pollution incident policy.

93. By virtue of the interpleader and Declaratory Judgment Action, Bituminous
has satisfied any and all obligations it could have to the defendants and requests a
permanent injunction prohibiting them from instituting any legal action against
Bituminous for recovery of any monies as a result of the subject weil spill and resulting
fire and explosion.

WHEREFORE, Bituminous Casuaity Corporation prays as follows:

A. That the defendants be required to answer and appear in;

B. That the Court adjudicate and declare that the remaining policy limits

available to Walden under the Walden policy are 3910,030.76, that being the sum of

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One lV|iliion Doilars less amounts previously expended in settlement of ciaims;

C. That the Court adjudicate and declare that the Walden policy provides no
coverage for the claims asserted by the United States Government, the United States
Government therefore has no right to any of proceeds from the Walden policy, no
priority pursuant to the Federal Debt Priority Statute to any of proceeds from the Walden
policy, and no right to pursue its claims against Bituminous pursuant to the Federai Debt
Coliection Procedures Act;

D. That the Court adjudicate and declare that no coverage Would be afforded
to AlVlVVES or ZTX Drilling LLC under the Commercial Automobile Liability Policy, Policy
number CAP 3 513 226, for any of the claims or suits arising for the above referenced
incident;

E. That the Court adjudicate and declare that there have been no damages
injuries or claims that Would be covered under the Workers Compensation and
Employers Liability Policy, policy number WC 3 513 227;

F. That the Court adjudicate and declare that no coverage would be afforded
to Ai\/iWES or ZTX Drilling LLC under the Commercial General Liability Policy, policy
number CLP 3 242 448, for any of the claims or suits arising from the discharge of oil
and gas;

G. That the Court adjudicate and declare that no coverage would be afforded
to Ai\/iWES or ZTX Drilling Ll_C under the Commercial Umbrella Policy No. CUP 2 580
714; and

H. That the Court adjudicate and declare that the Commercial Poiiution

Liability Policy, policy number CLP 2 336 581 insuring AMVVES and ZTX is the only

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policy issued by Bituminous that provides any coverage for any of the claims or suits
arising from the discharge of oil and gas and that the policy limits of the ZTX Poliution
Liability policy available for satisfaction of judgment or settlement are One iViiilion
($1,000.000.00) Doilarsl

l. That the Court adjudicate and declare that upon tender of its
limits/remaining policy limits into Court, Bituminous will have complied with its
obligations under the Walden policy and the ZTX Pollution incident policy, and would
have no duty to defend the interest of any entity entitled to protection under any policy
issued to Walden and/or AiViVVES/ZTX;

J. That the Court resolve the Federal Question presented, that being whether
the Debt Priority Statute, 31 U.S.C. § 3713, entitles the United States Government to first
payment from the Walden policy proceeds even though the Walden policy provides no
coverage for the claims asserted by the United States Government;

K. That this Court, upon appearance of all defendants enter an Order,
pursuant to Fed. R. Civ. P. 67, permitting the deposit of the remaining policy limits of the
Walden policy and the policy limits of the ZTX Poilution incident policy with the clerk of
the court for investment;

L. That this Court, upon appearance of all the defendants and entry of the
efore-mentioned Order, discharge Bituminous from any obligation under the Walden
policy and the AiV|VVES/ZTX policies and distribute the remaining policy proceeds
following its discharge, in accordance with applicable law and/or any agreement made
by the remaining defendants

i\/i. `l'hat Bituminous be dismissed and discharged from this action;

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N. That Bituminous be granted permanent injunction prohibiting any of the
defendants from bringing legal action to recover any proceeds from the Walden policy
and/or any policy issued to AMWES, as a result of the subject well spill and resulting fire
and expiosion.

O. That no costs be taxed to Bituminous; and

P. For such other further and legal equitable relief as this Court deems just and

proper.

       

 

 

Regis ration No. 13744
Attorney for Plaintiff, Bituminous Casualty
COl’poration

 

sREwER, KRAusE, sRooKs,
cHAsTAiN & suRRow, PLLc
P. o. sex 23890

Nashviiie, TN 37202-3890
(615) 256-8787

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